           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                             1:08cr82

UNITED STATES OF AMERICA                                   )
                                                           )
Vs.                                                        )              ORDER
                                                           )
VINCENT LAMAR BOULWARE.                                    )
__________________________________                         )

       THIS MATTER is before the court on defendant’s third Motion for

Psychiatric or Psychological Examination or Competency Determination (#81). The

court will set such motion for hearing, at which the court intends to make inquiry of

defendant not only as to his present mental health, but his recollection as to plea he

entered in this matter and the answers he gave to the court under oath.

                                      ORDER

       IT IS, THEREFORE, ORDERED that defendant’s third Motion for

Psychiatric or Psychological Examination or Competency Determination (#81) is

CALENDARED for hearing on Monday, March 15, 2010, at 10 a.m. in Courtroom

#2.
                                          Signed: March 11, 2010




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